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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 CHARLES GONZALES,                               §
                                                 §
            Plaintiff/Counter-Defendant,         §
                                                 §
 v.                                              §
                                                 §
 WILMINGTON SAVINGS FUND                         §
 SOCIETY, FSB, D/B/A CHRISTIANA                  §
 TRUST, NOT IN ITS INDIVIDUAL                    §         Civil Action No. 4:18-cv-999
 CAPACITY BUT SOLELY AS                          §
 TRUSTEE FOR RMAC TRUST, SERIES                  §
 2015-5T and                                     §
 RUSHMORE LOAN MANAGEMENT                        §
 SERVICES LLC,                                   §
                                                 §
           Defendants/Counter-Plaintiffs.        §


                       THE LANE LAW FIRM, PLLC’s UNOPPOSED
                         MOTION TO WITHDRAW AS COUNSEL


TO THE HONORABLE COURT:

         Robert C. Lane, Matthew W. Bourda, and the Lane Law Firm, P.L.L.C. (“Plaintiff’s

Counsel”) ask this Court’s permission to withdraw as Counsel for Plaintiff Charles Gonzales. This

Motion encompasses any other counsel of record or any other attorney employed, previously

employed, associated with, or previously associated with The Lane Law Firm, P.L.L.C. The Lane

Law Firm, P.L.L.C. shows the following:

                                         I.   SUMMARY

1. The Southern District of Texas has ruled that “[t]he [C]ourt may permit withdrawal of counsel

      upon motion and under whatever conditions the [C]ourt finds necessary to prevent delay.”

      Tepeyac v. Robbins Motor Transportation, Inc., 2006 U.S. Dist. LEXIS 90000, *25 (S.D. Tex.
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   2006), citing S.D. TEX. LOCAL R. 83.2. In Tepeyac, Magistrate Judge Smith cited Fifth Circuit

   precedent permitting withdrawal of counsel if the prosecution of a lawsuit would not be stalled

   and if good cause is shown. Id. (citing Broughten v. Voss, 624 F.2d 880, 882-83 (5th Cir.

   1981)).

2. No trial date has been set for this case. No motions are pending. The Plaintiff has answered

   the Defendants’ Counterclaim.

3. There is good cause for this Court to grant the Motion. Specifically, Plaintiff and Plaintiff’s

   Counsel have come to an impasse regarding communication and prosecution of the case,

   counsel is unable to reach or contact the Plaintiff, Plaintiff has not paid counsel for their legal

   services, and Plaintiff has an outstanding balance.

4. Plaintiff’s counsel has made multiple attempts to call, email, and write the to the Plaintiff and

   no attempts have been successful.

5. Plaintiff’s last known address was 10434 Rocky Hollow Road, La Porte, Texas 77571, his last

   known phone number            was   (281) 781-3237, and         his   last   known email      was

   crg28crg@yahoo.com.

                                          II.   PRAYER

       WHEREFORE, PREMISES CONSIDERED, Robert C. Lane, Matthew W. Bourda, and

the Lane Law Firm, P.L.L.C. ask that this Court grant their Motion to Withdraw as Counsel for all

Plaintiffs in the above-styled case.
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Dated this 17th day of April 2018.
                                                     Respectfully submitted,

                                                     THE LANE LAW FIRM, P.L.L.C.

                                                     By: /s/ Robert C. Lane
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                                                     ATTORNEYS FOR PLAINTIFF


                             CERTIFICATE OF CONFERENCE

       On April 16, 2018 I reached out to Counsel for the Defendants via telephone regarding
this Motion. Defendants are unopposed to the Motion.

                                                             /s/ Matthew W. Bourda
                                                             Matthew W. Bourda


                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 17th day of April 2018, a true and correct copy of the above
and foregoing instrument has been served upon the following, via ECF notification:

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                                                             /s/ Robert C. Lane
                                                             Robert C. Lane
